                 Case 2:19-cr-00090-KJM Document 45 Filed 01/31/20 Page 1 of 3

 1 McGREGOR W. SCOTT
   United States Attorney
 2 ANDRE M. ESPINOSA
   BRIAN A. FOGERTY
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5

 6 Attorneys for Plaintiff
   United States of America
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                       EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:19-CR-90 MCE

11                                 Plaintiff,            STIPULATION AND ORDER FOR EXCLUSION
                                                         OF TIME UNDER SPEEDY TRIAL ACT
12                          v.
                                                         DATE: January 29, 2020
13   ROBERT PIERRE DUNCAN,                               TIME: 10:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
14
                                  Defendant.
15

16
            The United States of America, by and through Assistant U.S. Attorney Andre M. Espinosa and
17
     Brian A. Fogerty, and defendant Robert Pierre Duncan, by and through counsel Shari Rusk, hereby
18
     agree and stipulate as follows:
19
            1.      On November 13, 2019, the Court set this case for a status conference to be held on
20
     December 11, 2019. ECF No. 37. On December 3, 2019, the Court sua sponte vacated the December
21
     11, 2019, status conference and reset it for January 23, 2020. ECF No. 38. On December 30, 2019, the
22
     Court sua sponte vacated the January 23, 2020, status conference and reset it for June 4, 2020. ECF No.
23
     41. The parties request that the Court exclude time between January 29, 2020, and June 4, 2020,
24
     pursuant to the Speedy Trial Act and Local Code T-4.
25
            2.      Since the initiation of the charges against the defendant and his co-defendant, the
26
     government has produced voluminous discovery in this case, including hundreds of pages of documents,
27
     several cell phone extractions, and recordings of telephone calls that were intercepted pursuant to court
28


      STIPULATION AND ORDER                              1
                  Case 2:19-cr-00090-KJM Document 45 Filed 01/31/20 Page 2 of 3

 1 orders.

 2           3.      On January 24, 2020, the government produced an additional collection of digital

 3 evidence composed of approximately 10 gigabytes of digital files from a telephone extraction.

 4           4.      Counsel for the defendant requires more time to review the allegations underlying the

 5 charges in the indictment, examine the evidence, confer with her client, and prepare for trial. Counsel

 6 for the defendant is also simultaneously handling other matters in this Court and elsewhere, which

 7 provides an additional basis for the exclusion of time between January 29, 2020, and June 4, 2020.

 8           5.      The defendant’s co-defendant in this matter, Eva Christian, has agreed to exclude time

 9 only through February 21, 2020. Christian has also requested a status conference that week (between

10 February 17 and February 21) before an available district court to explore the possibility of a trial date

11 before June 4, 2020. While defendant Duncan unequivocally requests an exclusion of time through June

12 4, 2020, he also requests to be present for any status conference in the case concerning his co-defendant

13 during the week of February 17, 2020, or otherwise.

14           6.      Based on the foregoing facts, the parties agree that the interests of justice served by

15 excluding the time between January 29, 2020, and June 4, 2020, under the Speedy Trial Act, outweighs

16 the best interest of the public and the defendant in a speedy trial. The parties request that the Court

17 adopt the facts set forth herein and order time excluded from January 29, 2020, to and including June 4,

18 2020, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code T-4, to allow defense counsel

19 to investigate and prepare for trial.

20
      Dated: January 28, 2020                                  McGREGOR W. SCOTT
21                                                             United States Attorney
22
                                                        By: /s/ ANDRE M. ESPINOSA
23                                                          ANDRE M. ESPINOSA
                                                            Assistant United States Attorney
24

25
      Dated: January 28, 2020                                  /s/ SHARI RUSK
26                                                             SHARI RUSK
27                                                             Counsel for Defendant
                                                               Robert Pierre Duncan
28


      STIPULATION AND ORDER                                2
               Case 2:19-cr-00090-KJM Document 45 Filed 01/31/20 Page 3 of 3

 1                                                    ORDER

 2          The Court, having received, read, and considered the parties’ stipulation, and good cause

 3 appearing therefrom, adopts the parties’ stipulation in its entirety as its order. The Court specifically

 4 finds that based on the facts set forth in the parties’ stipulation, the failure to exclude the time between

 5 the January 29, 2020, and June 4, 2020, would deny defense counsel reasonable time necessary for

 6 effective preparation, taking into account the exercise of due diligence. The Court further finds the ends

 7 of justice are served by the continuance and outweigh the best interests of the public and the defendant

 8 in a speedy trial. Time from January 29, 2020, to and including June 4, 2020, is excluded from the

 9 computation of time within which the trial of this case must commence under the Speedy Trial Act,

10 pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code T-4.

11          IT IS SO ORDERED.

12
     DATED: January 31, 2020
13

14

15                                                _______________________________________
                                                  MORRISON C. ENGLAND, JR.
16
                                                  UNITED STATES DISTRICT JUDGE
17

18

19

20
21

22

23

24

25

26

27

28


      STIPULATION AND ORDER                               3
